       Case 4:14-cr-00133-DLH          Document 90         Filed 01/14/16    Page 1 of 1




                       IN THE UNITED STATES DISTRICT COURT
                        FOR THE DISTRICT OF NORTH DAKOTA

United States of America,             )
                                      )
               Plaintiff,             )       ORDER ADOPTING STIPULATION TO
                                      )       MODIFICATION OF CONDITIONS OF
       vs.                            )       RELEASE
                                      )
Andrew Sayeed Myrie,                  )
                                      )       Case No. 4:14-cr-133
               Defendant.             )


       Before the court is a “Stipulation to Modification of Conditions of Release” filed by the

parties on January 14, 2016. The parties agree to modify the conditions of release imposed by the

court on July 30, 2015, to permit defendant to travel to Jamaica. In so doing, they note that

defendant has executed a “Waiver of Extradition” (Docket No. 68) and posted a $500,000.00

personal surety bond (Docket No. 70).

       The court ADOPTS the parties’ stipulation (Docket No. 89). The court shall permit

defendant to travel to Jamaica for a period of 30 day from the date of this order. Defendant is to

return to the United States within 30 day of this order.

       IT IS SO ORDERED.

       Dated this 14th day of January, 2016.

                                                      /s/ Charles S. Miller, Jr.
                                                      Charles S. Miller, Jr., Magistrate Judge
                                                      United States District Court
